                                          U.S. Department of Justice

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                                          May 2, 2023

Mr. Michael E. Gans, Clerk of Court
U.S. Court of Appeals for the Eighth Circuit
Thomas F. Eagleton Court House, Room 24.329
111 S. 10th Street
St. Louis, MO 63102

     Rule 28(j) Letter
     United States v. Edell Jackson
     Appeal Nos. 22-2870

Dear Mr. Gans:

     I am writing about a decision pertinent to the above-referenced
matter issued after briefing was completed.

     In United States v. Sitladeen, the defendant argued that 18 U.S.C.
§ 922(g)(5), which prohibits possession by a firearm by an alien
unlawfully present in the United States, violates the Second
Amendment. 64 F.4th 978, 983 (8th Cir. 2023). The defendant asserted
that the Supreme Court’s Bruen decision required this Court to
reconsider its holding that unlawful aliens are not part of “the people”
protected by the plain text of the Second Amendment. Id. at 983-87.

      This Court disagreed. Id. In resolving Second Amendment
challenges to firearms regulations, this Court begins with a textual
analysis of the phrase “the people” to determine whether the regulated
class of persons is protected by the Second Amendment. Id. at 985-87.
This Court determined in Sitladeen that Bruen did not disturb that




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textual analysis as the starting point for Second Amendment review. Id.
Only if the regulated class of persons is part of “the people” does the
inquiry then proceed to Bruen’s second step, namely whether the
regulation “fits within America’s historical tradition of firearm
regulation.” Id. at 985.

      Sitladeen supports the government’s opposition to Jackson’s “as
applied” challenge to § 922(g)(1). In arguing that § 922(g)(1) is
constitutional in all of its applications, the government began with the
plain text of the Second Amendment. Gov’t Br. 46-50. Specifically, the
government, consistent with the precedent of the Supreme Court and this
Court, argued that “the people” protected by the plain text of the Second
Amendment are law-abiding, responsible citizens. Id. That reading of the
plain text is consistent with Sitladeen, which identifies law-abiding,
responsible citizens as the class of persons to which the phrase “the
people” refers. Sitladeen, 64 F.4th at 984, 985-86.

      If the inquiry proceeded beyond the plain text starting point to
America’s historical tradition of firearm regulation, a review of historical
tradition confirms legislatures’ authority to prohibit felons from
possessing firearms. Gov’t Br. 50-60. At the very least, § 922(g)(1) is
constitutional as applied to Jackson. Id. at 62-66.

     Thank you for your consideration.


                                          Respectfully submitted,

                                          ANDREW M. LUGER
                                          United States Attorney

                                          /s/ David M. Genrich

                                          By: DAVID M. GENRICH
                                          Assistant U.S. Attorney




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               Certificate of Compliance and Service

     I hereby certify that the body of this letter is 349 words and thus

complies with the word limitation set forth in Fed. R. App. P. 28(j).

     I hereby certify on May 2, 2023, the government electronically filed

this 28(j) letter with the Clerk of the Court for the United States Court

of Appeals for the Eighth Circuit by using the CM/ECF system. I certify

that all participants in the case that are registered CM/ECF users will

be served by the CM/ECF system.



                                          /s/ David M. Genrich
                                          By: DAVID M. GENRICH
                                          Assistant U.S. Attorney




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